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                     United States Court of Appeals
                                       For the First Circuit
                                      ____________________________

      No. 23-2030
                                            LISA MENNINGER,

                                             Plaintiff - Appellee,

                                                       v.

                                        PPD DEVELOPMENT, L.P.,

                                           Defendant - Appellant.
                                        _________________________

                                            ORDER OF COURT

                                           Entered: June 25, 2024
                                        Pursuant to 1st Cir. R. 27.0(d)

         In light of the order issued on this day directing Appellee Lisa Menninger to file a
      conforming brief, appellee's motion for an extension of time to file a brief is denied as moot.

                                                            By the Court:

                                                            Maria R. Hamilton, Clerk



      cc:
      Douglas W. Baruch
      John P. Bueker
      Patrick Michael Curran, Jr.
      Douglas H. Hallward-Driemeier
      Patrick J. Hannon
      Rachel Reingold Mandel
      Stephanie Schuster
      Jennifer M. Wollenberg
